    Case 4:19-cv-01035 Document 5 Filed on 03/22/19 in TXSD Page 1 of 14
                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                                                                     March 22, 2019
                      UNITED STATES DISTRICT COURT                 David J. Bradley, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Monica Abboud                        §
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                                     §
versus                               §      Civil Action 4:19−cv−01035
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                                     §
Health Insurance Innovations, Inc.
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                     INITIAL DISCOVERY PROTOCOLS
                   FOR MANDATORY INITIAL DISCOVERY
                             PILOT PROJECT
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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

Monica Abboud                                 §
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versus                                        §        Civil Action 4:19−cv−01035
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Health Insurance Innovations, Inc.
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                NOTICE TO THE PARTIES − THE MANDATORY
                   INITIAL DISCOVERY PILOT PROJECT

      Effective July 1, 2018, this Court began participating in a Mandatory Initial
Discovery Pilot Project approved by the Judicial Conference of the United States. This
case is subject to the Pilot Project. The details of the Mandatory Initial Discovery Pilot
are set forth in attached Order. It is the parties' responsibility to read the Order carefully
to ensure familiarity and compliance with the requirements.
      A Checklist summarizing the key features and deadlines is attached to this Notice
for the parties' convenience. Please pay particular attention to the deadline for filing the
initial and supplemental responses. Any party seeking affirmative relief must serve a
copy of this Notice, including the Order and the Checklist, on each new party when the
Complaint, Counterclaim, Crossclaim, or Third-Party Complaint is served.
     During the parties' Fed. R. Civ. P. 26(f) Conference, the parties must discuss the
Mandatory Initial Discovery Pilot responses and seek to resolve any limitations or
objections they have made or intend to make in their responses. A description of the
discussion on the Mandatory Initial Discovery Pilot responses must be included in the
Rule 26(f) report to the Court.
      Mandatory Initial Discovery Pilot responses are not required to be filed if the
parties submit (and the Court approves) a written stipulation by all parties that no
discovery will be conducted in the case. Similarly, a party may defer the submission of
the Mandatory Initial Discovery Pilot responses for one 30-day period if all parties file
a notice with the Court certifying that they are attempting to settle the case and have a
good faith belief that it will be resolved within 30 days of the due date of the
Mandatory Initial Discovery Pilot responses. The deadline for final supplementation of
the Mandatory Initial Discovery Pilot responses normally will be stated in the Court's
Case-Management Order. If no deadline is stated, final supplementation must occur by
the fact discovery deadline set in the Case-Management Order.
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      Parties must file a notice with the Court when they file the Mandatory Initial
Discovery Pilot responses and supplements, but there is no requirement to file the
documents themselves, unless there is an unresolved dispute over the responses and
supplements that the Court must resolve during the Rule 16(b)(1) conference.
    After the Mandatory Initial Discovery Pilot responses have been served, discovery
under Fed. R. Civ. P. 30-36 and 45 may begin.


    SIGNED on March 22, 2019, at Houston, Texas.
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             MANDATORY INITIAL DISCOVERY PILOT PROJECT
                                       CHECKLIST

Rule 26(f) Party Conference:

o   The parties must discuss the Mandatory Initial Discovery responses, which should have
    been made by the time of the Conference, and seek to resolve any disagreements on the
    scope of their responses.

o   The parties should include a description of their discussions, including unresolved
    disagreements or other discovery issues, in their Rule 26(f) report to the Court.

Rule 16 Conference and Case-Management Order:

o   The Rule 16 Conference should be held within the time specified in Rule 16(b)(2) (as
    soon as possible but not later than the earlier of 90 days after any party has been served or
    60 days after appearance by any party).

o   The Case-Management Order should set the deadline for final supplementation of
    responses. If the Order does not set a deadline, final supplementation must occur by the
    fact discovery deadline set by the Court in its case management order.

o   The parties and Court will discuss the responses and other discovery at the Rule 16
    case-management conference.

Responsive Pleadings [answer/counterclaim/crossclaim/reply]:

o   Must be filed within the time set in Rule 12(a)(1)(A), (B), and (C).

               Exception: The Court may defer the responsive-pleading deadline for good
               cause if a party files a motion to dismiss based on lack of subject-matter
               jurisdiction, lack of personal jurisdiction, sovereign immunity, or absolute
               immunity or qualified immunity of a public official.

Initial Discovery Responses:

o   Party seeking affirmative relief: must serve its initial discovery responses and file a notice
    of service with the Court within 30 days after the first responsive pleading filed in
    response to its complaint, counterclaim, crossclaim, or third-party complaint.

       ·   Parties must file the notice of service in the CM/ECF system using the Notice of
           Service of Mandatory Initial Discovery Responses and Supplements event under
           the "Notices" category.
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o   Party filing a responsive pleading: must serve its initial discovery responses and file a
    notice of service with the Court within 30 days after it files its responsive pleading.

       ·   Parties must file the notice of service in the CM/ECF system using the Notice of
           Service of Mandatory Initial Discovery Responses and Supplements event under
           the "Notices" category.

               Exceptions: No discovery responses required if the Court approves a written
               stipulation by the parties that no discovery will be conducted in the case.
               Deadline for serving initial discovery responses may be deferred once for 30
               days if the parties jointly certify to the Court that they are seeking to settle the
               case and have a good faith belief that it will be resolved within 30 days of the
               due date for their responses.
               If the Court deferred the responsive pleading deadline based on the filing of
               one of the qualifying motions to dismiss, initial discovery responses are due 30
               days after the responsive pleading deadline set by the Court upon entry of its
               order deciding the motion or 30 days after the date set by Rule 12(a)(4) if the
               Court does not set a pleading deadline.

o   Initial responses and later supplements will not be filed with the Court on the date they
    are served, but a notice of service must be filed with the Court.

       ·   Parties must file the notice of service for initial and supplemental responses in the
           CM/ECF system using the Notice of Service of Mandatory Initial Discovery
           Responses and Supplements event under the "Notices" category.

               Exceptions: Parties must file initial responses and later supplements with
               their 26(f) report or discovery dispute filings if there is an unresolved dispute
               regarding the responses or supplements that the Court must resolve.

o   Responses must be signed by the party, under oath, and by counsel under Rule 26(g).

o   Limitations to scope of initial response asserted by the parties:

       ·   If based on a claim of privilege or work product, the party must produce a
           privilege log under Rule 26(b)(5).

               Exceptions: No privilege log required if the parties agree or the Court orders
               otherwise.

       ·   If based on any other objection, the party's response must explain with
           particularity the nature of the objection and provide a fair description of the
           information withheld.
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Electronically Stored Information (ESI):

o   If the existence of ESI is disclosed or discovered, the parties must confer and address the
    issues listed in ¶ (C)(2)(a)(i)-(iii) of the General Order.

o   The party must produce its ESI within 40 days after serving its initial response (unless
    modified by the court).

       ·   ESI must be produced in the form requested by the receiving party, or if no form
           is specified, in any reasonable form that will enable the receiving party to access,
           search, and display the ESI.

Supplemental Responses:

o   Must be served in a timely manner, and no later than 30 days after the information is
    discovered or revealed. If new information is revealed in a written discovery response or a
    deposition in a manner that reasonably informs all parties of the information, the
    information need not be presented in a supplemental response. A notice of service must be
    filed when a supplemental response is served.
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

Monica Abboud                               §
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Health Insurance Innovations, Inc.
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         MANDATORY INITIAL DISCOVERY PILOT PROJECT ORDER

     Effective July 1, 2018, Judge Rosenthal is participating in a Mandatory Initial
Discovery Pilot Project approved by the Judicial Conference of the United States.
      The Mandatory Initial Discovery Pilot Project applies to all civil cases filed on or
after July 1, 2018. Unlike the initial disclosures required by current Rule 26(a)(1)(A)
and (C), this Order Implementing the Pilot Project does not allow the parties to opt out
or to limit disclosures to favorable information.
     This Order does not apply to the cases listed in Rule 26(a)(1)(B), to actions under
the Private Securities Litigation Reform Act ("PSLRA"), to cases transferred for
consolidated administration in the Southern District by the Judicial Panel on
Multidistrict Litigation, or to cases under the 1980 Hague Convention on the Civil
Aspects of International Child Abduction. This Order also does not apply to cases
pleaded solely as adverse-action employment cases, to which the Employment Protocol
Disclosure Order applies, or FLSA cases not pleaded as collective actions, to which the
FLSA Protocol Disclosure Order applies.
      The discovery obligations addressed in this Order otherwise supersede the
disclosures required by Rule 26(a)(1). The discovery obligations operate as
court-ordered mandatory initial discovery required under the court's inherent authority
to manage cases on its docket. See Rule 16(b)(3)(B)(ii), (iii), and (vi), and Rule
26(b)(2)(C).

I.    Instructions to Parties

      A.    General

            1.     Any party seeking affirmative relief must serve a copy of the "Notice
            to the Parties" of the Mandatory Initial Discovery Pilot Project, including
            this Order and the Pilot Project Checklist, on each new party when the
            Complaint, Counterclaim, Crossclaim, or Third-Party Complaint is served.
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     2.     All parties are ordered to provide their mandatory initial discovery
     responses before beginning any further discovery in this case. The
     responses are called for by the Court, not by discovery requests served by
     an opposing party. Part B of this Order sets forth the categories of
     information that must be provided in each party's mandatory initial
     discovery responses. After the mandatory initial discovery responses have
     been provided, additional discovery may proceed under the Federal Rules
     of Civil Procedure and the case-management order entered by the Court.

     3.       Each party's response to the Mandatory Initial Discovery must be
     based on the information then reasonably available to it. A party is not
     excused from providing its response because it has not fully investigated the
     case, because it challenges the sufficiency of another party's response, or
     because another party has not yet responded. Each party must sign its
     responses under oath, certifying that the response is complete and correct
     when made, based on the party's knowledge, information, and belief formed
     after a reasonable inquiry. The attorney must sign under Rule 26(g).

     4.     The parties must provide the required information as to the facts
     relevant to the claims and defenses in the case, whether favorable or
     unfavorable, and whether or not the party intends to use the information in
     presenting the claims or defenses. The parties also must identify the
     relevant legal theories in response to paragraph B.4 below. If a party limits
     the scope of its response on the basis of privilege or work product, that
     party must produce a privilege log under Rule 26(b)(5), unless the parties
     agree or the Court orders otherwise. If a party limits its response on the
     basis of any other objection, including an objection that providing the
     required information would involve disproportionate expense or burden, it
     must explain with particularity the legal and factual basis of the objection
     and give a fair description of the information withheld.

B.   Timing

     1.     If a party shows that it cannot reasonably comply within the set time,
     the Court may, with or without awaiting a response from the opposing
     party, grant a one-time extension of up to 30 days.

     2.      A party seeking affirmative relief must serve its responses to the
     Mandatory Initial Discovery no later than 30 days after the first pleading
     filed in response to its complaint, counterclaim, crossclaim, or third-party
     complaint.

     3.      A party filing a responsive pleading, whether or not it also seeks
     affirmative relief, must serve its Mandatory Initial Discovery Responses no
     later than 30 days after it files its responsive pleading.
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      4.    In cases removed from state court, the responses must be filed within
      30 days of removal, if a responsive pleading was filed in state court before
      removal, and within 30 days of the response date set in Rule 81(c)(2) if a
      responsive pleading was not filed in state court before removal.

      5.     In all cases: (a) no Mandatory Initial Discovery Responses need be
      served if the Court approves the parties' written stipulation that no
      discovery will be conducted in the case; or (b) the Mandatory Initial
      Discovery Responses may be deferred for one 30-day period if the parties
      jointly certify to the Court that they are seeking to settle and have a
      good-faith belief that they can do so within 30 days of the due date for their
      responses, and the Court approves the deferral.

C.    Responses Are Not To Be Filed with the Court

      Unless the Court orders otherwise, initial responses and later supplements
are not to be filed with the Court. Instead, the parties must file a notice of service
of their initial responses and later supplements.

D.    Duty to Supplement

      The duty to provide the mandatory initial discovery responses set forth in
this Order is a continuing duty. Each party must serve supplemental responses
when new or additional information is discovered or revealed. A party must
timely serve supplemental responses, but in any event no later than 30 days after
the information is discovered by or revealed to the party. The Court normally will
set a deadline in its Rule 16(b) case-management order for final supplementation
of responses, and full and complete supplementation must occur by that deadline.
If the Court does not set a deadline, final supplementation must occur by the
fact-discovery or all-discovery deadline the Court sets in the case-management
order. If new information is revealed in a written discovery response or a
deposition in a manner that reasonably informs all parties that the information
exists and provides that information, that information need not also be separately
presented in a supplemental response.

E.    Parties to Discuss at their Rule 26(f) Conference

      During their Rule 26(f) Conference, the parties should discuss the mandatory
initial discovery requirements and try to resolve any limits they have invoked or
intend to invoke. The parties and Court will discuss the responses at the Rule 16
case-management conference.
      Parties should include in their Rule 26(f) report to the Court a concise
description of their discussions of the mandatory initial discovery requirements.
The report should also include a concise description of any limits invoked by any
party in its response and any disagreements requiring resolution by the Court. The
parties must attach the initial and supplemental responses and any other discovery
requests, objections, or responses involved in any existing disagreements.
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       F.    Not an Admission

            Production of information under this Order is not an admission that the
       information is relevant, authentic, or admissible.

       G.    Rule 37

            Rule 37(b)(2) applies to mandatory discovery responses required by this
       order.

II.    The Mandatory Initial Discovery Requirements

      The parties must respond to the following Court-issued discovery requirements
without waiting for formal discovery requests from the other parties, and at the times
set out above.

       1.    State the names and, if known, the addresses and telephone numbers of all
       persons who you believe are likely to have discoverable information relevant to
       any party's claims or defenses, and provide a fair description of the nature of the
       information each such person is believed to possess.

       2.     State the names and, if known, the addresses and telephone numbers of all
       persons who you believe have given written or recorded statements relevant to
       any party's claims or defenses. Unless you assert a privilege or work-product
       protection against disclosure under applicable law, attach a copy of each such
       statement if it is in your possession, custody, or control. If not in your possession,
       custody, or control, state the name and, if known, the address and telephone
       number of each person who you believe has custody of a copy.

       3.      List the documents, electronically stored information ("ESI"), tangible
       things, land, or other property known by you to exist, whether or not in your
       possession, custody or control, that you believe may be relevant to any party's
       claims or defenses. To the extent the volume of these materials makes listing
       them individually impracticable, you may group similar documents or ESI into
       categories and describe the specific categories with particularity. Include in your
       response the names and, if known, the addresses and telephone numbers of the
       custodians of the documents, ESI, or tangible things, land, or other property that
       are not in your possession, custody, or control. For documents and tangible things
       in your possession, custody, or control, you may produce them with your
       response, or make them available for inspection on the date of the response,
       instead of listing them. Production of ESI will occur in accordance with
       paragraph C.2 below.
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    4.      For each of your claims or defenses, state the facts relevant to it and the
    legal theories on which it is based.

    5.     Provide a computation of each category of damages claimed by you, and a
    description of the documents or other evidentiary material on which it is based,
    including materials bearing on the nature and extent of the injuries suffered. You
    may produce the documents or other evidentiary materials with your response
    instead of describing them.

    6.      Specifically identify and describe any insurance or other agreement under
    which an insurance business or other person or entity may be liable to satisfy all
    or part of a possible judgment in the action or to indemnify or reimburse a party
    for payments made by the party to satisfy the judgment. You may produce a copy
    of the agreement with your response instead of describing it.

    7.      A party receiving the list described in Paragraph 3, the description of
    materials identified in Paragraph 5, or a description of agreements referred to in
    Paragraph 6 may request more detailed or thorough responses to these mandatory
    discovery requests if it believes the responses are deficient. A party may also
    serve requests pursuant to Rule 34 to inspect, copy, test, or sample any or all of
    the listed or described items, to the extent not already produced in response to
    these mandatory discovery requests, or to enter onto designated land or other
    property identified or described.

III. Disclosure of Hard-Copy Documents and ESI

    A.   Hard-Copy Documents

         Hard-copy documents must be produced as they are kept in the usual course
         of business.

    B.   Electronically Stored Information (ESI)

         1. Duty to Confer. When the existence of ESI is disclosed or discovered,
         the parties must promptly confer and attempt to agree on matters relating to
         its disclosure and production, including:

               i.      the requirements and limits on the preservation, disclosure,
               and production of ESI;
               ii.     appropriate ESI searches, including custodians and search
               terms, or other use of technology assisted review; and
               iii.    the form in which the ESI will be produced.
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      2. Resolution of Disputes. If the parties are unable to resolve any dispute
      on ESI and seek resolution from the Court, they must present the dispute in
      a single joint motion or, if the Court directs, in a conference call or in
      person hearing with the Court. Any joint motion must include the parties'
      positions and the separate certification of counsel required under Rule
      26(g).

      3. Production of ESI. Unless the Court orders otherwise, a party must
      produce the ESI identified under paragraph B.3 within 40 days after serving
      its initial response. Absent good cause, no party need produce ESI in more
      than one form.

      4. Presumptive Form of Production. Unless the parties agree or the
      Court orders otherwise, a party must produce ESI in the form requested by
      the receiving party. If the receiving party does not specify a form, the
      producing party may produce the ESI in any reasonably usable form that
      will enable the receiving party to have the same ability to access, search,
      and display the ESI as the producing party.



      SIGNED on ___________________ , _______, at Houston, Texas.




                                  _____________________________________
                                              Lee H. Rosenthal
                                       Chief United States District Judge
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

Monica Abboud                               §
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   ORDER EXTENDING TIME TO ANSWER OR OTHERWISE RESPOND
  AND TO SERVE THE MANDATORY INITIAL DISCOVERY RESPONSES

     This case is part of the Mandatory Initial Discovery Pilot project ("MIDP") being
conducted in the civil cases filed in Chief Judge Rosenthal's court. Under the MIDP,
parties must respond to mandatory initial discovery subjects early in the litigation and
before traditional discovery begins under the Federal Rules of Civil Procedure. The
parties are to address their compliance with the MIDP in their Rule 26(f) report and at
the Rule 16 case-management conference. Order ¶ 5.
      The Order provides that "[a] party seeking affirmative relief must serve its
responses to the mandatory initial discovery no later than 30 days after the first
pleading filed in response to its complaint, counterclaim, crossclaim, or third-party
complaint." Id., ¶ 2(b). It further provides that "[a] party filing a responsive pleading,
whether or not it also seeks affirmative relief, must serve its initial discovery responses
no later than 30 days after it files its responsive pleading." Id., ¶ 2(c).
      The pleading referred to in these provisions is an answer. Pleadings can also
include counterclaims, crossclaims, and third-party claims, but each of these typically is
accompanied by an answer. The pleading that triggers discovery obligations under the
MIDP is the answer.
      The parties in this case have requested an extension of the Defendant's time to file
an answer. The filing of a motion to dismiss under Rule 12(b)(6) does not excuse the
obligation to file an answer and the corresponding obligation to provide mandatory
initial discovery. Parties must file answers, counterclaims, crossclaims, and replies
within the time set forth in Rule 12(a)(1)-(3) even if they have filed or intend to file a
motion to dismiss or other preliminary motion. Answers may be deferred only for good
cause based on motions to dismiss for lack of subject-matter jurisdiction, lack of
personal jurisdiction, sovereign immunity, or absolute or qualified immunity of a public
official. Motions to dismiss do not otherwise delay answers or the obligation to respond
to mandatory initial discovery.
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      The Court concludes that the parties have shown good cause and will grant a
one-time extension of 30 days for Defendant to file an answer. Because the
effectiveness of the disclosures depends on early compliance, the Court will not grant
additional extensions. The parties' obligations to produce the information within 30
days of the filing of an answer, as set out in the Order, is triggered by the Defendant's
filing of an answer after this extension.
     The Defendant's time to file an answer in response to the complaint is extended by
30 days. No further extensions will be granted.


     SIGNED on ___________________ , _______, at Houston, Texas.




                                         _____________________________________
                                                     Lee H. Rosenthal
                                              Chief United States District Judge
